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                                #:24863


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 10                      CENTRAL DISTRICT OF CALIFORNIA
 11
       JOSE ANTONIO FRANCO-                ) Case No. 10-CV-02211 DMG (DTBx)
 12    GONZALEZ, et al.,                   )
                                           ) STATUS REPORT
 13       Plaintiffs-Petitioners,          )
                                           )
 14                     v.                 )
                                           )
 15    KIRSTJEN NIELSEN, Secretary,        )
       Department of Homeland Security, et )
 16    al.,                                )
                                           )
 17      Defendants- Respondents,          )
                                           )
 18    ____________________________        )
 19         Pursuant to the Court’s August 10, 2018, Order, Defendants file this status
 20 report detailing the steps that Immigration and Customs Enforcement (ICE) are
 21 taking in coordination with the Bureau of Prisons (BOP) in a good faith effort to
 22 comply with the Implementation Plan Order (IPO)—to include form adoption,
 23 training, and re-screening of current ICE detainees—for those ICE detainees at
 24 FDC SeaTac and FCI Victorville II, on or before August 31, 2018.
 25      1. ICE has identified that all 441 ICE detainees currently at FCI Victorville II
 26         and all 56 ICE detainees currently at FDC SeaTac require re-screening
 27         consistent with the 14-day Franco mental health screening requirements of

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   1       the IPO. ICE reports that no detainees at FCI Phoenix require re-screening
   2       and that BOP staff at FCI Phoenix do not require new forms or training
   3       because ICE detainees at FCI Phoenix are screened at the Franco-compliant
   4       Florence detention center.
   5    2. As soon as practicable, ICE will provide Franco training, as approved by the
   6       Franco Monitor, to BOP staff at FDC SeaTac and FCI Victorville II.
   7    3. BOP is developing initial and 14-day screening forms to screen ICE
   8       detainees using the relevant fields from the IHSC Form 795A-pilot, see
   9       Exhibit 1, and IHSC Form 795-B, see Exhibit 2.
  10    4. Franco trained BOP staff will perform Franco intake screenings and Franco
  11       14-day mental health screenings in accordance with the terms of the IPO.
  12    5. ICE and BOP will work together to organize additional resources as
  13       necessary to perform such 14-day mental health re-screenings by August 31,
  14       2018.
  15    6. If Franco screening at covered BOP facilities identify a Franco detainee,
  16       BOP will contact local ICE staff to transfer that detainee back into ICE
  17       custody for all subsequent Franco obligations, such as the Franco mental
  18       health assessment.
  19    7. From this point forward, ICE will attempt to limit new intakes at all BOP
  20       sites and attempt to pre-screen all detainees prior to placement at FDC
  21       SeaTac and FCI Victorville II. However, if ICE is unable to complete a pre-
  22       screening, ICE will notify BOP immediately of any arriving detainees who
  23       will need initial and 14-day mental health screenings performed by trained
  24       BOP staff.
  25    8. If any ICE detainee transfers from one of the above-referenced BOP
  26       facilities, ICE will be responsible to ensure that the detainee is Franco
  27       screened.
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   1 Dated: August 17, 2018                   Respectfully submitted,

   2                                          /s/ Jeffrey S. Robins
   3                                          JEFFREY S. ROBINS
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   4
                                              United States Department of Justice
   5                                          Office of Immigration Litigation
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